            Case 2:03-cr-00042-MCE Document 931 Filed 04/19/07 Page 1 of 2



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 2                                                                     FILED
 3                                                                         APR   I 92007
                                                                      CLERK, U.S. DISTRICTCOURT
 4                                                                 EASTERNDISTRICTOF CALIFORNIA
                                                                   BY
                                                                             DEPUTYCLeRK
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 8                                   IN THE UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

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12
          UNITED STATES OF AMERICA,
13
                        Plaintiff,                           Cr. S-03-0042-003FCD
14
                 vs.                                         ORDER FOR RELEASE OF PERSON IN
     II
15   __
                                                             CUSTODY
          CHARLES LEE WHITE,
     "
16 --
                        Defendant.
17                                                     /

18        TO:    UNITED STATES MARSHAL:

19 II            This is to authorize and direct you to release LAKISH GOOCH, Case No. Cr. S-03-0042

20 IIFCD, Charge - Failure to Appear after having been served a subpoena to appear as a material
21
          witness in the above action, from custody.
22
                 ~      Release on Personal Recognizance
23
                        Bail Posted in the Sum of $ [ ]
24
                                 Unsecured Appearance Bond
25
                                 Appearance Bond with 10% Deposit
26
        Case 2:03-cr-00042-MCE Document 931 Filed 04/19/07 Page 2 of 2


 1                             Appearance Bond with Surety
 2                             Corporate Surety Bail Bond

                       --X-    (Other): On condition that she appear at her residence, 526 Swan Way,
 311
 4
                               Vallejo CA 94589, on or before 5:00 p.m. on Sunday, April 22, 2007 for
 5
                               transport to Sacramento, California, for trial testimony on Monday,
 6
                                   April 23, 2007 at 1:30 p.m.
 7
                 Issued at Sacramento, CA on April 19, 2007 at 2:15 p.m.
 8 ..
     .. Dated:    April 19, 2007
 9

10 II                                                       I     .-
                                                                       C. DAMRELL JR.
                                                                 UNITED STATES MAGISTRATE JUDGE
11 II
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26 IIGOOCH release order.wpd                               2
